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 6

 7   Attorneys for Plaintiff
     United States of America
 8

 9                                 IN THE UNITED STATES DISTRICT COURT

10                                      EASTERN DISTRICT OF CALIFORNIA

11

12   UNITED STATES OF AMERICA,                            CASE NO. 2:12-CR-0409 TLN

13                                Plaintiff,              STIPULATION AND ORDER CONTINUING
                                                          JUDGMENT AND SENTENCING
14                          v.

15   NINA NGUYEN, ET AL.,

16                               Defendants.

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19          IT IS HEREBY STIPULATED by the parties, through their respective undersigned counsel, that the

20   judgment and sentencing of defendants NINA NGUYEN and LUAN TRAN, currently scheduled for

21   November 14, 2013, may be continued to December 5, 2013, at 9:30 a.m. to provide the Probation Officer

22   additional time to consider information provided to her by the government, and the schedule for objections

23   may be modified as set forth below.

24          Informal Objections to Probation:                      November 7, 2013

25          Pre-Sentence Report Filed with the Court:              November 14, 2013

26          Motion for Correction to PSR:                          November 21, 2013

27
      Stip and Order Continuing J&S                       1
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 1           Reply or Statement of Non-Opposition:                November 28, 2013

 2           Defense counsel have reviewed this stipulation and proposed order and have authorized the

 3   government to file it on their behalf.

 4   DATED: October 28, 2013

 5                                                        BENJAMIN WAGNER
                                                          United States Attorney
 6

 7                                                    By: /s/ R. Steven Lapham
                                                          R. Steven Lapham
 8
                                                          Assistant U.S. Attorney
 9

10   DATED: October 28, 2013

11                                                        /s/ Scott N. Cameron
                                                          Scott N. Cameron
12                                                        Counsel for Nina Nguyen
13

14
     DATED: October 28, 2013
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16                                                        /s/ Michael Bigelow
                                                          Michael Bigelow
17                                                        Counsel for Luan Tran

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19

20                                                   ORDER

21           IT IS SO ORDERED.

22

23   Dated: October 29, 2013

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25                                                        Troy L. Nunley
                                                          United States District Judge
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27
       Stip and Order Continuing J&S                      2
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